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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

APRIL BRINKMAN,                              )   CASE NO. _____________________
individually and on behalf of all others     )
similarly situated,                          )   JUDGE ________________________
                      Plaintiff,             )
                                             )
       v.                                    )
                                             )   NOTICE OF REMOVAL
CHARMING CHARLIE, LLC                        )
                                             )
                                             )
                       Defendant.

TO THE HONORABLE JUDGES AND CLERK OF THE UNITED STATES COURT FOR
THE EASTERN DISTRICT OF LOUISIANA.

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446,

Defendant Charming Charlie, LLC (“Defendant”), by counsel, files its Notice of Removal to this

Court of an action pending against it in the Civil District Court for the Parish of Orleans.

Removal is based on the following grounds:

       1.      On or about May 7, 2018, Plaintiff (“Plaintiff”) commenced an action in the Civil

District Court for the Parish of Orleans, State of Louisiana, by filing a Class Action Petition

(“Petition”) captioned April Brinkman v. Charming Charlie, LLC, Docket No. 2018-04467,

Division J, Section 15 (the “State Court Action”). Pursuant to 28 U.S.C. § 1446(a), a copy of the

Petition and all other pleading and process served on Defendant are attached hereto as Exhibit A.

                                      TIMELY REMOVAL

       2.      On May 31, 2018, Defendant was served with a copy of the Summons and

Petition in the State Court Action.

       3.      Defendant timely filed this Notice of Removal within thirty days after service

upon it of the Summons and Petition pursuant to 28 U.S.C. § 1446(b). See e.g., Murphy Bros.,

Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 350-51 (1991) (“one becomes a party
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officially, and is required to take action in that capacity, only upon service of a summons or other

authority-asserting measure stating the time within which the party served must appear and

defend”).

                                 JURISDICTION AND VENUE

        4.      In her Petition, Plaintiff has asserted claim for relief against Defendant pursuant

to the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”). See Exhibit

A, at ¶ XIII.

        5.      The TCPA is a federal statute which sets forth numerous restrictions concerning

advertising and/or telemarketing text message calls to individuals’ cellular telephones without

prior express consent. See generally 47 U.S.C. § 227.

        6.      Pursuant to 28 U.S.C. § 1331, the Court has original jurisdiction over this matter

as the Plaintiff’s claims under the TCPA arise under the laws of the United States and

accordingly removal of this matter is proper under 28 U.S.C. § 1441. See e.g., Mims v. Arrow

Financial Services, LLC, 565 U.S. 368, 386-87 (2012) (holding that private TCPA claims arise

under federal law, and therefore federal courts have federal question jurisdiction over TCPA

claims, notwithstanding concurrent state court jurisdiction); Rivet v. Regions Bank of Louisiana,

522 U.S. 470 (1998) (defendant may remove to federal district court under federal question

jurisdiction “when a federal question is presented on the face of the plaintiff's properly pleaded

complaint”); Reese v. Marketron Broadcast Solutions, Inc., No. 18-1982, R.D. 18 at 4 (E.D. La.

May 8, 2018)(Vance, J.) (a TCPA claim “plainly presents such a federal question.”)

        7.      The State Court Action is not a non-removable action as described in 28 U.S.C. §

1445.




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          8.    To the extent that there are any claims filed by Plaintiff in the State Court Action

which are not subject to this Court’s original jurisdiction, this Court has supplemental

jurisdiction of all such claims because they are so related to the claims over which this Court has

original jurisdiction that they form part of the same case or controversy.

          9.    Venue is proper in this Court pursuant to 28 U.S.C. § 98 because it is the “district

and division embracing the place where such action is pending.” See 28 U.S.C. § 1441(a).

                                            CONSENT

          10.   Defendant is the only served defendant and only named defendant in this action

within the meaning of 28 U.S.C. § 1441, and hereby consents to removal of the State Court

Action.

                                 RESERVATION OF RIGHTS

          11.   In submitting this Notice of Removal, Defendant reserves all defenses, including

but not limited to, whether Plaintiff has standing; whether her Petition states a claim under the

TCPA; and whether class certification is appropriate.


          WHEREFORE, Defendant Charming Charlie, LLC hereby removes this action from the

Civil District Court for the Parish of Orleans, State of Louisiana to the United States District

Court for the Eastern District of Louisiana.

                                                      Respectfully submitted,

                                                      /s/ Raymond C. Lewis
                                                      Raymond C. Lewis (#31236)
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                                                    Attorneys for Charming Charlie, LLC


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Notice of Removal was

served by regular U.S. mail, postage prepaid, this 29th day of June, 2018, upon the following:

               Roberto Luis Costales
               William H. Beaumont
               Jonathan M. Kirkland
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               Attorneys for Plaintiff



                                                    Respectfully submitted,

                                                    /s/ Raymond C. Lewis




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